         Case 1:21-cv-07863-VEC Document 33 Filed 10/05/21 Page 1 of 2


                                                                           USDC SDNY
UNITED STATES DISTRICT COURT                                               DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                              ELECTRONICALLY FILED
                                                                           DOC #:
 MICHAEL KANE, et al.,                                                     DATE FILED: 10/5/2021
                               Plaintiff,
                                                                21 Civ. 7863 (MKV)
                       -v.-
                                                                       ORDER
 BILL DE BLASIO, et al.,

                              Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       The Court, sitting as the Part One Judge, held a hearing on Plaintiffs’ application for a

temporary restraining order on October 5, 2021. For the reasons stated on the record at the

hearing, Plaintiffs’ motion for a temporary restraining order is DENIED. Plaintiffs’ motion for a

preliminary injunction remains pending. Accordingly,

       IT IS HEREBY ORDERED that a hearing on the preliminary injunction is scheduled for

Tuesday, October 12, 2021 at 11:00 A.M. The hearing will be held before Judge Valerie

Caproni in Courtroom 443 of the Thurgood Marshall United States Courthouse, located at 40

Foley Square, New York, New York 10007.

       IT IS FURTHER ORDERED that any supplemental materials from the Plaintiffs must be

filed by no later than Thursday, October 7, 2021 at 5:00 P.M. and any supplemental materials

from the Defendants must be filed by no later than Friday, October 8, 2021 at 5:00 P.M.

       IT IS FURTHER ORDERED that per the SDNY COVID-19 COURTHOUSE ENTRY

PROGRAM, any person who appears at any SDNY courthouse must complete a questionnaire

and have his or her temperature taken. Only those individuals who meet the entry requirements

established by the questionnaire will be permitted entry.




                                                    1
         Case 1:21-cv-07863-VEC Document 33 Filed 10/05/21 Page 2 of 2




       IT IS FURTHER ORDERED that any person who appears at any SDNY courthouse must

comply with Standing Order M10-468 (21-MC-164), which further pertains to courthouse entry.

       IT IS FURTHER ORDERED that interested members of the public may listen to the

proceeding remotely by dialing 1-888-363-4749, using the access code 3121171 and the security

code 7863. All of those accessing the hearing are reminded that recording or rebroadcasting of

the proceeding is prohibited by law.



SO ORDERED.

Date: October 5, 2021                                  _ ______
                                                       __    ___
                                                             ___________________
                                                                               _ __
                                                                               __ _ ______
                                                       ___________________________________
                                                                                        ___
                                                                                        __
      New York, NY                                           MARY
                                                             M
                                                             MAARY KKAY    VYSKOCIL
                                                                       AY VYS
                                                                       AY    YSSKOCIL
                                                            United
                                                            Un     States
                                                             nited Sta tes District Judge
                                                                     ate




                                                  2
